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                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE


    TARA LEE MANCHESTER            AND             )
    BYRON MANCHESTER,                              )
                                                   )
                              PLAINTIFFS           )
                                                   )
    V.                                             )      CIVIL NO. 2:15-CV-473-DBH
                                                   )
    CUMBERLAND COUNTY SHERIFF’S                    )
    DEPARTMENT AND BRIAN                           )
    ACKERMAN,                                      )
                                                   )
                              DEFENDANTS           )


                     DECISION AND ORDER ON DEFENDANTS’
                       MOTION FOR SUMMARY JUDGMENT


         This case involves law enforcement actions that occurred during the arrest

of Byron Manchester at his Casco home on November 19, 2013. Manchester and

his former wife, Tara-Lee Campbell,1 have alleged that detective Brian Ackerman

and his fellow Cumberland County Sheriff deputies applied excessive force to

both of them in violation of the Maine and United States Constitutions, the Maine

Civil Rights Act, 42 U.S.C. § 1983, and state tort law, or failed to intervene to

prevent the use of such force, and that the County has liability for failing to train

its officers.2 The defendants have moved for summary judgment. Construing

the facts in a light most favorable to the plaintiffs, I conclude that the defendants



1 Since filing this lawsuit, Tara-Lee Manchester has changed her last name to Campbell. See
Affidavit of Tara-Lee Campbell (ECF No. 43-2). I will therefore refer to her as Tara-Lee Campbell.
2 The amended complaint names the Sheriff’s Department as a defendant, but the parties agreed

at the Local Rule 56(h) Conference that the County itself is the proper defendant. Report of Pre-
Filing Conference at 2 (ECF No. 33).
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nevertheless are entitled to summary judgment on both plaintiffs’ state tort law

claims, both plaintiffs’ claims that Cumberland County unconstitutionally failed

to train its deputies, and Byron Manchester’s (but not Tara-Lee Campbell’s)

claim of excessive force. However, there are genuine issues of material fact on

the excessive force claims of Tara-Lee Campbell and the failure to intervene

claims of Byron Manchester. I therefore GRANT the defendants’ motion in part,

and DENY it in part.

                                      FACTS

         On November 19, 2013, the defendant Brian Ackerman, a detective for the

Cumberland County Sheriff’s Office, along with other law enforcement officers

executed a search warrant on the property of Byron Manchester and Tara-Lee

Campbell. See Defs.’ Statement of Material Fact ¶ 1 (ECF No. 39) (Defs.’ SMF);

Pls.’ Response to Defs.’ Statement of Material Facts ¶ 1 (ECF No. 44) (Pls.’ RSMF).

The parties have presented considerably different accounts of the events that

night.     According to the plaintiffs, Ackerman was standing right next to

Manchester as a group of law enforcement officers, including Assistant Team

Leader Scott Jordan, Deputy Lucas Hallett, and John Fournier, dragged

Manchester from his home and held him down on the ground. Pls.’ RSMF ¶¶ 3–

4.   Also according to the plaintiffs, Ackerman dragged Campbell from her

doorway over rocks and gravel, through her yard, and into the driveway. Pls.’

RSMF ¶¶ 1–2.

         According to the defendants, Ackerman did not use any physical force on

either Manchester or Campbell during the execution of the search warrant on

November 19, Ackerman did not observe any other officers use physical force on
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the plaintiffs, Defs.’ SMF ¶¶ 1–3, and neither Manchester nor Campbell can

identify Ackerman as the one who dragged them across the ground or otherwise

restrained them or stood by as they were allegedly being subjected to excessive

force, Defs.’ SMF ¶¶ 4–6.

                                    PROCEDURAL HISTORY

       The amended complaint asserted the following causes of action:

(1) excessive force by Ackerman and failure to train by Cumberland County in

violation of the Maine Civil Rights Act, 5 M.R.S. § 4682; (2) state law assault and

battery by Ackerman under the Maine Tort Claims Act (MTCA), 14 M.R.S. § 8101;

(3) Ackerman’s failure to intervene to prevent excessive force; and (4) excessive

force by Ackerman and failure to train by Cumberland County in violation of 42

U.S.C. § 1983. Pls.’ First Am. Compl. (ECF No. 22). The plaintiffs sought leave

to file a second amended complaint naming additional law enforcement officer

defendants and enlarging their legal theories of relief (ECF No. 35), but I denied

that motion in a written order (ECF No. 37).3

       Following a Local Rule 56(h) Pre-Filing Conference (ECF No. 33), the

defendants moved for summary judgment (ECF No. 38).

                                           ANALYSIS

1.     Assault and Battery Claims Against Ackerman (Count Two)

       The MTCA provides that “[w]ithin 180 days after any claim or cause of

action permitted by this chapter accrues, or at a later time . . . when a claimant


3 At the Local Rule 56(h) Pre-Filing Conference, the plaintiffs agreed that they would have until
November 16, 2016 “to amend the First Amended Complaint to name any of the unknown Sheriff
Officers as defendants.” Report of Pre-Filing Conference 2 (ECF No. 33). Because I denied the
plaintiffs’ motion for leave to file a second amended complaint (ECF No. 37), their claims against
the unknown Sheriff Officer defendants did not survive.
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shows good cause why notice could not have reasonably been filed within the

180-day limit, a claimant . . . shall file a written notice” with the relevant

governmental entity.   14 M.R.S. § 8107(1).     A plaintiff cannot commence an

action “against a governmental entity or employee . . . unless the foregoing notice

provisions are substantially complied with.” 14 M.R.S. § 8107(4); Deschenes v.

City of Sanford, 2016 ME 56, ¶ 12, 137 A.3d 198 (“[F]ailure to comply with the

notice provision bars the claim . . .’” (quoting Cushman v. Tilton, 652 A.2d 650,

651 (Me.1995)).

       The plaintiffs do not dispute that neither Ackerman nor Cumberland

County was ever served with notice pursuant to 14 M.R.S. § 8107. Defs.’ SMF

¶ 11; Pls.’ SMF ¶ 11. Moreover, the plaintiffs do not argue that they have shown

“good cause why notice could not have reasonably been filed within the 180-day

limit.” 14 M.R.S. § 8107(1); Peters v. City of Westbrook, 2001 ME 179, ¶¶ 5–10,

787 A.2d 141.     Because the plaintiffs have not presented any arguments in

opposition to the defendants’ motion for summary judgment on the state law

assault and battery claims or attempted to “tie [their] allegations to a tangible

theory of recovery,” they have waived any such arguments. Snyder v. Collura,

812 F.3d 46, 51 (1st Cir. 2016), cert. denied, 136 S. Ct. 2517 (2016).

       As a result, the defendants are entitled to summary judgment on Count

Two.

2.     Failure to Train Claims Against Cumberland County (Count One, Maine
       Civil Rights Act; Count Four, 42 U.S.C. § 1983)

       The Supreme Court has ruled that “the inadequacy of police training may

serve as the basis for § 1983 liability only where the failure to train amounts to

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deliberate indifference to the rights of persons with whom the police come into

contact.” City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989). To succeed

on a failure to train claim against Cumberland County, the plaintiffs must show

that (1) the “failure to train reflects a ‘deliberate’ or ‘conscious’ choice by a

municipality—a ‘policy,’” Canton, 489 U.S. at 389, and (2) “the deficiency in

training actually caused” the excessive force violation, id. at 391. The Supreme

Court has emphasized that “the focus must be on adequacy of the training

program in relation to the tasks the particular officers must perform.” Id. at 390.

        In the typical case, “the existence of a pattern of tortious conduct by

inadequately trained employees may tend to show that the lack of proper training

. . . is the ‘moving force’ behind the plaintiff's injury.” Bd. of Cnty. Comm’rs of

Bryan Cnty., Oklahoma v. Brown, 520 U.S. 397, 407–08 (1997) (quoting Canton,

489 U.S. at 389–91). In this case, the plaintiffs have advanced no evidence of a

“pattern of tortious conduct” by Cumberland County deputies. But the Supreme

Court    has   not   “foreclose[d]   the   possibility,   however   rare,   that   the

unconstitutional consequences of failing to train could be so patently obvious

that a city could be liable under § 1983 without proof of a pre-existing pattern of

violations.”   Connick v. Thompson, 563 U.S. 51, 64 (2011).          In Canton, for

example, the Supreme Court hypothesized that because “city policymakers know

to a moral certainty that their police officers will be required to arrest fleeing

felons,” the requirement to train officers on the proper use of deadly force “can

be said to be ‘so obvious,’ that failure to do so could properly be characterized

as ‘deliberate indifference’ to constitutional rights.” 489 U.S. at 390 n.10.


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      But in this case, there was a policy and there was training. The plaintiffs

do not dispute that the Cumberland County Sheriff’s Office Standard Operating

Procedure O-2, “Use of Force,” was in effect from December 12, 2012 to

October 15, 2015, thus including the November 2013 incident. Defs.’ SMF ¶ 9;

Pls.’ RSMF ¶ 9; Cumberland County Sheriff’s Office Standard Operating

Procedure, Defs.’ SMF, Ex. 2 (ECF No. 39-2) (Standard Operating Procedure).

The policy provided the County’s “guidelines on the limits of deputy’s authority

and the use of deadly and non-deadly force.” Standard Operating Procedure at

1. Moreover, the plaintiffs do not dispute that Ackerman received training on

this policy and the use of force. Defs.’ SMF ¶ 10; Pls.’ RSMF ¶ 10.

      Instead, the plaintiffs’ claim is that the Standard Operating Procedure

“was not followed” on the November evening in question, and that “[t]he excessive

use of force used against two compliant and terrified plaintiffs, reflect the officers

were not trained in the procedures set forth by their own department.” Pls.’

Opp’n to Defs.’ Mot. Summ. J. 19 (ECF No. 43). There is no other evidence of

failure to train or failure to train adequately. Citing Canton, the plaintiffs argue

that “the deputies, detectives, and various sheriffs’ officers in this case exhibit

such a lack of adherence to the actual language of their policies that it is logically

inferred that they lacked proper training in the proper use of force.” Pls.’ Opp’n

to Defs.’ Mot. Summ. J. 19 (ECF No. 43).

      That is not enough. Canton and Connick spoke of a failure to train. The

plaintiffs here have no evidence of failure to train. They have only the events of

November 19, 2013, from which they conclude that the training must not have

been sufficient. But the Supreme Court has warned: “That a particular officer
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may be unsatisfactorily trained will not alone suffice to fasten liability on the

city, for the officer’s shortcomings may have resulted from factors other than a

faulty training program.” Canton, 489 U.S. at 390–91. “And plainly, adequately

trained officers occasionally make mistakes; the fact that they do says little about

the training program or the legal basis for holding the city liable.” Id. at 391.

       On this record, the County is entitled to summary judgment on all claims

against it.

3.     Excessive Force Claims Against Ackerman (Count One, Maine Civil Rights
       Act; Count Four, 42 U.S.C. § 1983)

       It is well-settled that “[e]xcessive force claims are founded on the Fourth

Amendment right to be free from unreasonable seizures of the person.” Raiche

v. Pietroski, 623 F.3d 30, 36 (1st Cir. 2010); U.S. Const. amend. IV. To that end,

“claims that law enforcement officers have used excessive force—deadly or not—

in the course of an arrest, investigatory stop, or other ‘seizure’ of a free citizen

should be analyzed under the Fourth Amendment and its ‘reasonableness’

standard.”4 Graham v. Connor, 490 U.S. 386, 395 (1989). In other words, “to

establish a Fourth Amendment excessive force violation, Plaintiffs must show

not only that [the officer] employed force . . . but also that that level of force was

objectively unreasonable under the circumstances.”                      Fernandez-Salicrup v.



4In Count One, under the caption “Maine Civil Rights Act,” the plaintiffs allege that “Ackerman
and other unknown Sheriff Officers by their excessive use of force, violated Plaintiffs’ right to due
process as guaranteed by Article One, Section Six-A of the Maine Constitution.” Pls.’ First Am.
Compl. ¶ 23 (ECF No. 16). Article One, section 5, concerning unreasonable searches and
seizures may be a more appropriate citation, but in any event the plaintiffs present their entire
argument on excessive force under federal law, and I shall therefore treat the state and federal
excessive force arguments as the same. Claims brought under the Maine Civil Rights Act “are
analyzed co-extensively” with section 1983 claims. Cady v. Walsh, 753 F.3d 348, 356 n.6 (1st
Cir. 2014).

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Figueroa-Sancha, 790 F.3d 312, 326 (1st Cir. 2015). Determining whether the

officer exercised objectively unreasonable force involves “a fact-intensive inquiry

that is highly sensitive to the circumstances of the particular case.”5 Jarrett v.

Town of Yarmouth, 331 F.3d 140, 148 (1st Cir. 2003).

       But here, the defendants argue that it is unnecessary to address the degree

of force because the plaintiffs cannot identify Ackerman as the deputy who

actually used the force of which they complain, and Ackerman has sworn that

he did not use force on either plaintiff. Affidavit of Brian Ackerman ¶¶ 4–5 (ECF

No. 39-3) (Ackerman Aff.). I reject the defendants’ argument as to the plaintiff

Campbell. It is true that at her deposition Campbell was unable to name the

deputy who, she says, used excessive force in dragging her across the yard from

the house to the driveway next to a shed. See Tara-Lee Campbell Dep. Tr. 32:24–

34:10 (ECF No. 43-4) (Campbell Dep. Tr.). But Ackerman himself wrote in his

report that he was the one who took her to the shed, Narrative Report of Brian

Ackerman, Defs.’ Ex. 1, at 3 (ECF No. 39-1) (Defs.’ Ex. 1), and the reports of two

other deputies on the scene confirm that Ackerman took her away from the

residence, Pls.’ Ex. 5, at 3, 5 (ECF No. 43-9). Ackerman denies any force (“I

walked her over to a nearby shed next to the driveway where she sat down,”

Defs.’ Ex. 1, at 3), but Campbell’s deposition gives a different version of how she

was moved from the house to the shed/driveway. See Campbell Dep. Tr. 32:24–

34:25.   Since the defendants have not argued that the degree of force was




5 The defendants chose not to raise a qualified immunity defense. Defs.’ Mot. Summ. J. 5 n.5
(ECF No. 38).

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insufficient, only the lack of identification, summary judgment must be denied

to the defendants on Campbell’s claim of excessive force.6

       The record is different for Manchester’s excessive force claim against

Ackerman. In his deposition, Manchester testified that law enforcement officers

threw him to the ground and restrained him, but that he did not know whether

Ackerman was one of the officers restraining him or if Ackerman was even

present at the scene when Manchester was first thrown to the ground. Byron

Manchester Dep. Tr. 43:12–45:10 (ECF No. 43-3) (Manchester Dep. Tr.).

Manchester also said that the officers who restrained him all had masks on, but

that Ackerman was not wearing a mask. Manchester Dep. Tr. 44:19–46:12. He

further testified that he did not see whether Ackerman was one of the officers

who dragged him out of his residence across rocks. Manchester Dep. Tr. 45:1–

46:12. In his later affidavit, Byron Manchester stated that after four or five police

officers threw him to the ground and placed handcuffs on him, he looked up and

saw Brian Ackerman, the only officer not wearing a black ski mask or helmet

with a black visor.      Affidavit of Byron Manchester ¶¶ 17–18 (ECF No. 43-1)

(Manchester Aff.).      None of this evidence directly or indirectly contradicts

Ackerman’s affidavit that he did not use any physical force on Manchester.

Ackerman Aff. ¶¶ 4–5.

       Campbell’s affidavit likewise does not contradict Ackerman’s denial that

he used physical force on Manchester. Her affidavit states that all the officers



6For this purpose, I do not rely upon Campbell’s later affidavit, which the defendants argue I
should not consider under Colantuoni v. Alfred Calcagni & Sons, Inc., 44 F.3d 1, 4–5 (1st Cir.
1994), see infra 13.
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except one were wearing black masks or helmets with dark visors, Affidavit of

Tara-Lee Campbell ¶ 15 (ECF No. 43-2) (Campbell Aff.), that four or five officers

slammed Manchester to the ground, hauled him out of the house, and

handcuffed him, while the one unmasked officer was at the door, yelling

instructions to the other officers, and “did nothing to intervene or to stop the

aggressive force used against Byron.” Campbell Aff. ¶¶ 16–17, 19. Campbell

also stated that although she did not know Ackerman’s name, she “could

recognize this officer throughout the raid on my house because he was the only

one not wearing a mask.”               Campbell Aff. ¶ 38.         None of this supports the

assertion that Ackerman himself used physical force on Manchester.7 There is

no genuine issue of material fact on that question.

          The defendant Ackerman is entitled to summary judgment on the

excessive force claims of Byron Manchester in Counts One and Four, but not on

the excessive force claims of Tara-Lee Campbell.

4.        Failure to Intervene Claims Against Ackerman (Count Three)

          “‘[A]n officer who is present at the scene [of an arrest] and who fails to take

reasonable steps to protect the victim of another officer’s use of excessive force

can be held liable under section 1983 for his nonfeasance,’ provided that he had

a ‘realistic opportunity’ to prevent the other officer’s actions.” Martinez v. Colon,

54 F.3d 980, 985 (1st Cir. 1995) (quoting Gaudreault v. Municipality of Salem,

923 F.2d 203, 207 n.3 (1st Cir.1990)). The plaintiffs contend that Ackerman is

liable under this theory because he was on the scene when other officers used



7   I consider separately whether it bears on the claim of failure to intervene.
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excessive force against Manchester and Campbell and did nothing to prevent it.

Pls.’ Opp’n to Defs.’ Mot. Summ. J. 22–25 (ECF No. 43).        But according to

Ackerman’s affidavit, he “did not observe any officers use any physical force of

any sort on either Byron Manchester or Tara Lee Manchester,” Ackerman Aff.

¶ 6, and that when he approached the residence, Manchester already “was laying

face down on the ground just outside the main door of the residence,” Defs.’ Ex.

1, at 3.

      Because Ackerman is the officer who, the plaintiffs say, used excessive

force against Campbell, he cannot be liable for failure to intervene in her case.

There is no suggestion that someone else applied excessive force to Campbell in

Ackerman’s presence.

      As for Manchester, according to the plaintiffs “Brian Ackerman was

standing right next to Byron when Byron was being held down on the ground by

other officers.” Pls.’ RSMF ¶ 3. In support, the plaintiffs cite the reports of

Jordan, Hallett, and Fournier, the deposition of Byron Manchester, and the

affidavits of Tara-Lee Campbell and Byron Manchester. Pls.’ RSMF ¶¶ 3–4.

      Jordan’s report does not mention Ackerman at all. Pls.’ Ex. 5, at 1–2 (ECF

No. 43-9). The Hallett and Fournier reports both state in identical detail that

Ackerman “brought [the female] away from the residence while I stayed with

[Byron Manchester],” and that “[a]s soon as the team announced the residence

clear, I brought Byron over to Det. Ackerman who conducted an interview with

him in his car.”   Id. at 3, 5.   Thus, these three accounts do not contradict

Ackerman’s statement that he did not see physical force applied to Manchester

or Campbell.
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       At Byron Manchester’s deposition, when questioned if he “physically saw

Brian Ackerman there when other members of the SWAT team put you on the

ground,” Manchester responded, “Not at that time, no. After, after, once I kept

hollering to them, what do you want, is when I finally saw him.” Manchester

Dep. Tr. 44:1–6. Asked again if he knew “whether or not [Ackerman] was there

when you say members of the SWAT team threw you on the ground,” Manchester

continued, “No, I wouldn't have a chance to tell you who was there, they grabbed

me so fast and threw me on the ground.”8               Id. at 44:7-11.     Even a liberal

interpretation of Byron Manchester’s deposition does not lead to the plaintiffs’

proposed factual conclusion that “Brian Ackerman was standing right next to

Byron when Byron was being held down on the ground by other officers.” Pls.’

RSMF ¶ 4.

       That leaves the two affidavits (Manchester’s and Campbell’s) to consider.

       Manchester’s affidavit, filed after the defendants moved for summary

judgment, states that other officers knelt on his back and legs and handcuffed

him while he was on his stomach on the ground, then proceeded to drag him

away from his doorway into the front yard, and “when I looked up I saw Brian

Ackerman walking past where I was laying, moving towards the front door.”

Manchester Aff. ¶ 18. This affidavit, like Manchester’s deposition testimony and

the twin reports of Hallett and Fournier, places Ackerman in the general location,

but does not show that he observed excessive force and had the opportunity to

stop it.    “[M]ere presence at the scene, without more, does not by some


8 He gave that follow-up testimony in clarification of an earlier statement that Ackerman was
“standing right close,” Manchester Dep. Tr. 43:20–25.
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mysterious alchemy render him legally responsible under section 1983 for the

actions of a fellow officer.” Calvi v. Knox Cnty., 470 F.3d 422, 428 (1st Cir. 2006).

      Campbell’s affidavit, also filed after the summary judgment motion, says

that one officer (by inference, Ackerman as the only officer not working a mask

or helmet) “was at the door at the time Byron was thrown to the ground and I

could hear him yelling instructions to the other officers. . . .     Never did the

unmasked officer ever intervene to stop the violence being perpetrated against

Byron by the other officers.” Campbell Aff. ¶ 19. That statement could support

a failure to intervene claim against Ackerman. But the defendants argue that I

should ignore the affidavit because it is contrary to Campbell’s earlier deposition

testimony. According to the First Circuit, “[w]hen an interested witness has given

clear answers to unambiguous questions [at a deposition], he cannot create a

conflict and resist summary judgment with an affidavit that is clearly

contradictory, but does not give a satisfactory explanation of why the testimony

is changed.” Colantuoni v. Alfred Calcagni & Sons, Inc., 44 F.3d 1, 4–5 (1st Cir.

1994). I turn therefore to Campbell’s deposition. At her deposition, Campbell

was questioned only by defense counsel.         She gave no testimony then that

Ackerman was at the door when Byron Manchester was thrown to the ground or

able to “intervene to stop the violence.” See Campbell Dep. Tr. 31:12–33:8, 35:1–

19.   But she was never asked that question, and I see no testimony in her

deposition that is clearly contradictory to the challenged statement in her

affidavit. Consequently I do credit Campbell’s statement in her affidavit, and

doing so creates a genuine issue of material fact on Manchester’s failure to

intervene claim against Ackerman.
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      Ackerman is entitled to summary judgment on Campbell’s, but not on

Manchester’s, failure to intervene claim.

5.    Arguments about the Search Warrant

      At the Local Rule 56(h) Pre-Filing Conference, the plaintiffs made clear that

their federal claim in Count Four “asserted only an excessive force claim, and

not an illegal search claim,” and is “relevant only to the extent it provided

grounds for the officers’ use of force.” Report of Pre-Filing Conference 1 (ECF

No. 33). I therefore do not entertain that part of their current objection to the

defendants’ motion for summary judgment that attempts to argue that Ackerman

used “false statements and a reckless disregard for the truth” to obtain the

search warrant, Pls.’ Opp’n to Defs.’ Mot. Summ. J. 19–20, 25–28 (ECF No. 43),

exceeded the scope of the warrant, id. at 28-30, or received inadequate training

on the scope of a warrant, id. at 19–22.        The plaintiffs have waived such

arguments.

                                   CONCLUSION

      I therefore GRANT the defendants’ motion for summary judgment on all but

the plaintiff Tara-Lee Campbell’s claim for excessive force and the plaintiff Byron

Manchester’s claim for failure to intervene against Ackerman, and on those two

claims the motion is DENIED.

      SO ORDERED.

      DATED THIS 10TH DAY OF MAY, 2017

                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE


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